                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-23-00307-CR

KYLE GORDON COX, Appellant                 §   On Appeal from the 355th District
                                               Court

                                           §   of Hood County (CR15602)

V.                                         §   August 22, 2024

                                           §   Memorandum Opinion by Chief Justice
                                               Sudderth

THE STATE OF TEXAS                         §   (nfp)

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.


                                      SECOND DISTRICT COURT OF APPEALS

                                       By /s/ Bonnie Sudderth
                                          Chief Justice Bonnie Sudderth
